
Per curiam.
Respondent Herbert S. Waldman has petitioned the State Disciplinary Board for voluntary suspension of his license to practice law on the ground of his conviction in the United States District Court for the Northern District of Georgia of three felonies involving moral turpitude and constituting grounds for disbarment under Standard 66 of Rule 4-102 of Part IV, Chapter 1 of the State Bar Rules.
Pursuant to State Bar Rule 4-106, a lawyer convicted of a crime involving moral turpitude may be suspended from the practice of law until all appeal rights are terminated. The court, pursuant to State Bar Rule 4-106 and upon the recommendation of the special master, accepts Mr. Waldman’s petition for voluntary suspension from the practice of law pending termination of his appeal in the United States Court of Appeals for the Eleventh Circuit.

Voluntary suspension of license is accepted.


All the Justices concur.

